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                EXHIBIT 5
   Case: 1:20-cv-02322-DAR Doc #: 56-5 Filed: 12/27/23 2 of 4. PageID #: 842


From:            Peter Curtin
To:              Kyle D. Stroup; Nathan F. Studeny; Jon W. Groza; Jon J. Pinney
Cc:              Yichen Cao; Campbell, Jay R.; Ostrowski, Carter S.; Elliot Mendelson
Subject:         RE: NOCO v. Aukey, et al., 1:20-cv-02322 (ND Ohio) - Aukey"s Rule 30(b)(6) Deposition Notice to NOCO
Date:            Friday, December 22, 2023 4:30:00 PM
Attachments:     NOCO v. Aukey - Rule 30(B)(6) Deposition Notice to The NOCO Company.pdf


Hello Counsel –

As discussed, please find attached a copy of Aukey’s Rule 30(b)(6) Deposition
Notice to NOCO. We’ve left the dates and times open for discussion for the
reasons set forth in earlier messages.

Best regards –

Pete Curtin
Peter J. Curtin, Partner
Analects Legal LLC
1212 S Naper Blvd. Suite #119 - PMB 238
Naperville, IL 60540-7349
E-mail: pcurtin@analectslegal.com
Tel: 1.240.432.3267




From: Peter Curtin
Sent: Wednesday, December 20, 2023 8:44 PM
To: Kyle D. Stroup <kds@kjk.com>; Nathan F. Studeny <nfs@kjk.com>; Jon W. Groza
<jwg@kjk.com>; Jon J. Pinney <jjp@kjk.com>
Cc: Yichen Cao <ycao@analectslegal.com>; Campbell, Jay R. <Jay.Campbell@tuckerellis.com>;
Ostrowski, Carter S. <Carter.Ostrowski@tuckerellis.com>; Elliot Mendelson
<emendelson@analectslegal.com>
Subject: RE: NOCO v. Aukey, et al., 1:20-cv-02322 (ND Ohio) - Deposition Notices for Discussion

Hello Kyle and All –

As previewed in one of my earlier messages, and in advance of our
conference regarding transition of counsel, scheduling issues and deadlines
tomorrow, we have attached three deposition notices for NOCO employees
in their individual capacities. The proposed deposition dates have been left
open for discussion by the parties.

If we had to list the proposed deposition dates now, the dates would be
January 2nd (for Weideman) and January 3rd (for Nook), but it makes more
sense for both sides to: (a) schedule the individual depositions for later in an
agreed-upon further-extended fact discovery period; and (b) coordinate the
individual depositions with NOCO’s Rule 30(b)(6) deposition because these
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three witnesses are all likely corporate representatives.

Moreover, Aukey cannot be expected to depose Mr. Weiner (or to conduct a
Rule 30(b)(6) deposition of NOCO on damages issues) within the current
discovery deadlines. We have completed our initial review of NOCO’s
November 22, 2023, document production and it appears to us that NOCO
has not produced a single document or piece of information related to the
unit sales, sales revenue, COGS, or profits of NOCO’s jump starters during the
period of time relevant to this case (or any other period of time). If we are
wrong about this, please identify the relevant documents by Bates-number.

We are also preparing a Rule 30(b)(6) Notice of Deposition to NOCO that we
will serve before the end of this week.


Best Regards –

Pete Curtin
Peter J. Curtin, Partner
Analects Legal LLC
1212 S Naper Blvd. Suite #119 - PMB 238
Naperville, IL 60540-7349
E-mail: pcurtin@analectslegal.com
Tel: 1.240.432.3267




From: Kyle D. Stroup <kds@kjk.com>
Sent: Friday, November 10, 2023 6:17 PM
To: Peter Curtin <pcurtin@analectslegal.com>
Cc: Yichen Cao <ycao@analectslegal.com>; Campbell, Jay R. <Jay.Campbell@tuckerellis.com>;
Petruzzi, Anthony R. <anthony.petruzzi@tuckerellis.com>; Jon J. Pinney <jjp@kjk.com>; Jon W.
Groza <jwg@kjk.com>; Nathan F. Studeny <nfs@kjk.com>; Ostrowski, Carter S.
<Carter.Ostrowski@tuckerellis.com>
Subject: RE: NOCO v. Aukey, et al., -- Proposed ESI Search Terms for NOCO

Pete:

Please find the attached correspondence and NOCO’s Amended Initial Disclosures, Supplemental
Responses to Aukey’s First Set of Interrogatories, and Rule 30(b)(6) notices for discussion (with Word
versions as well).

Thank you,
     Case: 1:20-cv-02322-DAR Doc #: 56-5 Filed: 12/27/23 4 of 4. PageID #: 844



KYLE D. STROUP
Associate | KJK


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From: Peter Curtin <pcurtin@analectslegal.com>
Sent: Wednesday, September 27, 2023 9:19 PM
To: Kyle D. Stroup <kds@kjk.com>
Cc: Yichen Cao <ycao@analectslegal.com>; Campbell, Jay R. <Jay.Campbell@tuckerellis.com>;
Petruzzi, Anthony R. <anthony.petruzzi@tuckerellis.com>; Jon J. Pinney <jjp@kjk.com>; Jon W.
Groza <jwg@kjk.com>; Nathan F. Studeny <nfs@kjk.com>; Ostrowski, Carter S.
<Carter.Ostrowski@tuckerellis.com>
Subject: Re: NOCO v. Aukey, et al., -- Proposed ESI Search Terms for NOCO

Hi Kyle - Further to our emails earlier today, our team is available for a call tomorrow afternoon.
Does 3PM Eastern/2 PM Central work for your team? If not, please propose another time.

Pete Curtin

Sent from my iPhone


         On Sep 26, 2023, at 1:02 PM, Kyle D. Stroup <kds@kjk.com> wrote:


         Pete:

         We wanted to follow up here regarding some time this week for a phone call to discuss
         discovery. Please let us know what works best for your team.

         Sincerely,

         KYLE D. STROUP
         Associate | KJK


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